                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 CAITLIN O’CONNOR,                   )
                                     )
      Plaintiff,                     ) No. 3:20-cv-00628
                                     )
 v.                                  ) Judge Eli J. Richardson
                                     )
                                     )
 THE LAMPO GROUP, LLC d/b/a          ) Magistrate Judge Frensley
 RAMSEY SOLUTIONS,                   ) Jury Demand
                                     )
      Defendant.                     )
                 PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                    MOTION FOR SUMMARY JUDGMENT

       Defendant Ramsey Solutions attempts to justify the discriminatory termination of Caitlin

O’Connor due to its requirement that employees adhere to “Judeo-Christian” or “normative”

Christian beliefs couched as policy when after she requested FMLA and ADA accommodation

paperwork for her pregnancy she was unlawfully terminated. Indeed, only by ignoring legal

precedent, the deposition transcripts, and shaping its own narrative by way of a singular, self-

serving affidavit of its Human Resources Director does Ramsey Solutions bring the instant

sanitized, factually and legally deficient motion. The facts demonstrate without exception that

Ramsey Solutions, under the guise of its “Righteous Living” core value, has terminated every

pregnant female employee who notified them of her pregnancy if the pregnancy was out of

wedlock, just as it did Ms. O’Connor. The direct evidence in this case demonstrates Ms.

O’Connor’s termination was motivated by her pregnancy, and FMLA and ADA request. Ramsey

Solutions’ policies and attitudes couched as “values” demonstrate a pattern of hostility toward

women while giving men second chances and the benefit of the doubt. A reasonable jury could

find that Ms. O’Connor’s termination was a violation of Title VII, the THRA, FMLA, TMLA,



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ADA and TDA. As such, the motion for summary judgment must be Denied. 1 Ms. O’Connor is,

however, voluntarily dismissing her ADA accommodation claim.

I.       FACTUAL BACKGROUND

O’Connor’s Employment History with Ramsey Solutions and her Job Duties.

         Caitlin O’Connor began working for The Lampo Group d/b/a Ramsey Solutions (“Ramsey

Solutions”) on February 2016 as a full-time administrative assistant in the Digital Development

Group (“DDG”), reporting to Michael Finney, Chief Digital Officer. (O’Connor Dep. 41, 43 47,

267; Finney Dep. 9). Ramsey Solutions is a for-profit company, not a 501c3 organization, that

provides financial leadership, career, and small-business education. (Lopez Dep. 21-22; Galloway

30(b)(6) Dep. 12; Floyd Dep. 21; Ramsey Dep. 8). O’Connor’s duties included managing leader

calendars, team care management, coordinating DDG travel, and keeping lists of DDG employees

addresses, numbers, favorite coffees etc. (O’Connor Dep. 56, 250; Finney Dep. 18). O’Connor

was a good, honest, and hard worker who did not receive any write-ups, disciplinary action, and

received good yearly reviews. (O’Connor Dep. 269; Finney Dep. 48).

Ramsey Solutions’ Human Resources Structure and Policies

         Human Resources Committee (“HRC”): The HRC enforces and sets Ramsey Solutions

Policy, deals with personnel issues, employees in crisis, disciplinary actions, performance

improvement plans, nearly all terminations, and determines the scope of its Righteous Living Core

Value (“Righteous Living”). (Lopez Dep. 17-18; Floyd Dep. 80; Simms Dep. 8; Finney Dep. 13).

Although it relies on precedent, the HRC determines the subjective gradient of “Righteous Living,”

including its application, judging the extreme nature of the behavior, patterns, and individual


1
  Defendant also made a perplexing and indeed untimely discovery argument that Plaintiff’s interrogatory response
warrants dismissal and makes a backhanded allegation of professional negligence. (ECF 67 p. 11-12). This quite
simply ignores Fed. R. Civ. P. 37, the other allegation does not warrant a response. Plaintiff will address substantive
factual and legal issues not smears or gotcha tactics.

                                                           2

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circumstances and depending on those facts and circumstances, an employee’s behavior is subject

to “review, probation, or termination.” (Lopez Dep. 66, 85-86, Ex. 1 p. 0007; Galloway Dep. 30;

Finney Dep. 37; Ramsey Dep. 28-29). This enforcement can change as new members bring a

different perspective and the collective decision might be different. 2 (Lopez Dep. 174).

        The 2020 HRC consisted of Armando Lopez, Executive Director of Human Resources,

Jennifer Sievertsen, Director of Marketing, Suzanne Simms, Senior Executive Vice President of

the Business to Consumer Channel, Floyd, Jack Galloway, Senior Executive Vice President of

Business to Business, and Sarah Sloyan. (O’Connor Dep. 240; Lopez Dep. 8; Floyd Dep. 7;

Galloway Dep. 7-8; Simms Dep. 8). 3 Galloway acted as Chair, although he has no background in

HR. (Galloway Dep. 7; Sievertsen Dep. 8). Founder and CEO Dave Ramsey is involved in the

decisions to terminate employees. (Lopez Dep. 18; Sievertsen Dep. 7). The HRC members and

Ramsey have had very little, if any, training on Title VII or FMLA. (Lopez 30(b)(6) Dep. 73;

Floyd Dep. 8; Simms Dep. 13-14; Ramsey Dep. 20).

        Operating Board: In 2020, Ramsey Solutions’ Operating Board consisted of Ramsey,

Rachel Cruze,                      , Daniel Ramsey, Simms, Sievertsen, Finney, Galloway, Williams,

and Floyd. (Lopez Dep. 161; Sievertsen Dep. 8, 31; Simms Dep. 7; Galloway Dep. 8). It sets the

strategic direction for Ramsey Solutions and runs the day-to-day operations; the HRC is a subset

of the operating board. (Sievertsen Dep. 8). Although the Board and Ramsey can choose to




2
  Daniel Tardy, a member of the Operating Board, stated on social media that Ramsey Solutions does not have
policies but instead “principles” which “are guideposts and allow room for our hearts and wisdom to influence the
decision. (O’Connor Dep. Ex. 26).
3
  Lopez’ duties include recruiting, onboarding, retention, development and “culture” and he was promoted to Senior
Executive Director around January 2021. (Lopez Dep. 8). As Senior Executive Director, Lopez now reports to
Galloway, who was promoted to Chief People Officer. (Lopez Dep. 20). In 2020, Lopez reported to Mark Floyd, CFO.
(Lopez Dep. 20). Neither have training or experience in Title VII or human resources. (Galloway Dep. 7 Lopez
30(b)(6) Dep. 73; Floyd Dep. 8).

                                                        3

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terminate employees, this typically goes through the HRC, as the Board does not set policy as to

“fireable offenses.” (Lopez Dep. 168; Finney Dep. 11, 109).

         Equal Employment Opportunity: Ramsey Solutions’ handbook includes a brief provision

regarding classes protected against discrimination. (Lopez Dep. 43, 46, 174, Ex. 1 p. 0004;

Galloway Dep. 21). Ramsey Solutions does not have a written ADA or accommodation policy or

forms, “[they] just comply with the ADA;” a process where employees go to HR and discuss the

accommodation request. (Lopez Dep. 47-48). 4

         Company Conduct Policy: Ramsey Solutions is “held out to be Christian,” meaning

Ramsey Solutions holds itself out as a Christian company “from time to time,” but has no practical

application other than its “image” is Christian and its market 5 “views” it as a biblically based

company. (Finney Dep. 33-34; Lopez Dep. 48, Ex. 1 p. 0007; Floyd Dep. 38). Additionally, the

policy states “[s]hould a team member engage in behavior not consistent with traditional Judeo-

Christian 6 values or teaching, it would damage the image and the value of our goodwill and our

brand;” meaning an employee cannot engage in behavior contrary to evangelical “normative

Christian beliefs” regardless of their religious beliefs. (Lopez Dep. 55, Ex. 1 p. 0007; Ramsey Dep.

11, 27).

         Mission Statement and Core Values: In 2013, the Operating Board created “Core Values.”

(Lopez Dep. Ex. 2 p. 0003; Galloway 30(b)(6) Dep. 10; Galloway Dep. 14, Finney Dep. 11). The

Core Values are also “Judeo-Christian,” allegedly based on the Christian Bible are “guidelines”



4
  Despite Title VII’s admonitions against discrimination, even as policies espousing religious beliefs couched as a
Core Value, Floyd testified that if Ramsey Solutions interviewed an unwed pregnant employee he would ask if they
violated the Core Values, i.e. engaged in pre-marital sex, and they would not be hired because they are not the most
qualified because they do not align with the Core Values. (Sievertsen Dep. 10, 47; Floyd Dep. 58, 72).
5
  This “market” is the market that gives Ramsey Solutions money for its product, which includes public educational
institutions. (Floyd Dep. 39-40).
6
  Lopez testified that he understood this term to have a religious foundation and derived from the Bible. (Lopez Dep.
56, 58).

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for operating the company and employee conduct, this includes a “Righteous Living” 7 core value.

(Lopez Dep. 76-77, 118, Ex. 2 p. 0007; Lopez 30(b)(6) Dep. 18; Sievertsen Dep. 21-23, 28; Floyd

Dep 32, 35-36). Ramsey Solutions has adopted contemporary evangelical, complementarity

beliefs that sex is only allowed within marriage, between one man and one woman, and that the

marital relationship is to “embody gender complementarity; the idea that men and women have

different but complementary and co-equal roles in marriage and the household” and that men serve

as “benevolent head[s]” and women as “caretakers.” 8 (Walker Dep. 29-31, Ex. 17 p. 1. See Armour

Report, MSJ Opp. Ex. 1 p. 6). This view of sexual abstinence regulates all of sexuality, the

performance of gender, and reinforces patriarchal authority, requiring proper dress and submissive

demeanor for women. 9 (Ingersoll Report, MSJ Opp. Ex. 2 p. 2). Complementarity affects women

disproportionately to men enforcing rigid boundaries between men and women, including

women’s secondary status to men. (Walker Dep. 53-54; Ingersoll Report, MSJ Opp. Ex. 2 p. 2-3,

4). Complementarianism in the workplace, including the policing of sexual morality through moral

codes of conduct “disproportionately impacts women.” (Ingersoll Report, MSJ Opp. Ex. 2 p. 6).

Ramsey Solutions adamantly contends that the Bible prohibits Sex outside of marriage, despite

acknowledging Christian denominations interpret the Bible and the issue of sex outside of marriage

differently. 10 (Lopez Dep. 56, 77-79, Ex. 2 p. 07, Ex. 12 p. 3; Floyd Dep. 35, 47-48; Galloway

Dep. 15, 21; Seivertsen Dep. 21; Simms Dep. 25; Ramsey Dep. 14; Walker Dep. 14-15, Ex. 17 p.

9; Armour Report, MSJ Opp. Ex. 1 pp. 2, 4, 9; Ingersoll Report, MSJ Opp. Ex. 2 p. 1).


7
  According to the Christian Bible, “Righteous Living” is the principle that people should keep themselves “pure and
holy;” although there are many things the Bible prohibits that Ramsey Solutions does not. (Floyd Dep 32, 35-36;
Sievertsen Dep. 21-23).
8
  Dr. Walker, Ramsey’s expert, also testified that Complementarianism was the cultural norm until the second wave
of feminism. (Walker Dep. 32).
9
  Which is consistent with the workplace at Ramsey Solutions, who would have “fashion shows” for women, but not
men, in the summertime, directing them in a modest form of dress. (Seivertsen Dep. 48).
10
   However, not one single Ramsey employee could identify where the Bible prohibits sex outside of marriage. (Lopez
Dep. 59; Ramsey Dep. 14; Galloway Dep. 20; Seivertsen Dep. 21; Floyd Dep. 35; Simms Dep. 26)

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         There is no written policy detailing behaviors that violate “Righteous Living,” 11 including

its prohibition on sex outside of marriage, even though Ramsey Solutions acknowledges the

importance of knowing what are “fireable offenses.” 12 (Lopez Dep. 66, 91, Ex. 3 p. 0028;

Sievertsen Dep. 14, 38; Floyd Dep. 42; Finney Dep. 25, 35, 39; Ramsey Dep. 12, 24). Importantly,

the company does not “go looking for” core value violations or regularly call employees in to

ascertain whether they have had sex outside of marriage. (Sievertsen Dep. 17, 25; Simms Dep. 26-

27). Employees are not required to sign a purity pledge, but they are expected to know what

Righteous Living means. (Lopez Dep. 78-79, 91; Ramsey Dep. 23). According to Ramsey, the

whole organization accepts that premarital sex would be a violation, as this is a “normative” belief

within the Christian community and if an employee does not know what traditional Judeo-

Christian values are, it is the employee’s responsibility to ask before they sign the handbook.

(Ramsey Dep. 12-13, 42). Ramsey Solutions assumes that these values are “both self-evident and

shared by all Christians in all times and all places.” (Armour Report, MSJ Opp. Ex. 1 p. 1).

However, despite Ramsey’s myopic line of thought, Christian values on matters of sex, marriage,

and pregnancy have been shaped in response to “shifting historical and cultural context,” and there

is no “singular teaching regarding sex and sexuality in the Christian tradition or in the biblical

text.” 13 (Walker Dep. 14-15, Ex. 17 p. 9; Armour Report, MSJ Opp. Ex. 1 pp. 2, 4, 9; Ingersoll

Report, MSJ Ex. 2 p. 1).

         “Righteous Living” is a construct the HRC makes as they decide on personnel issues.

(Finney Dep. 38; Galloway 30(b)(6) Dep. 11-12; Galloway Dep. 20; Simms Dep. 10). Out of


11
   The only explanation of Righteous Living is stating Righteous Living means, “No cheating, stealing or lying.
Goal No. 1 is to be men and women of integrity.” (Lopez Dep. 66, 91, Ex. 3 p. 0028)
12
   For example, according to Ramsey, lying is not automatically terminable, but a habitual liar should be fired as,
“[it] violates common sense to keep people you can’t trust.” (Ramsey Dep. 35).
13
   Dr. Walker claims “no serious scholar of repute would argue . . . that the Bible licenses fornication of any variety”
and that denominations in disagreement are not faithful to biblical traditions. (Walker Dep. 14-15, 41, Ex. 17 p. 9).

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concern for their brand, Ramsey Solutions requires employees to engage in behavior that it views

is Christian; such behaviors that are contrary to this purpose include drunkenness, cursing someone

out in public, engaging in premarital or extramarital sex, gossiping, watching pornography, and

alcohol and drug addiction. (Lopez Dep. 55-56, 60, 64; Sievertsen Dep. 14-15, 21, 38; Galloway

Dep. 15). Galloway did, however, acknowledge there is no correlation between getting out of debt

and having sex outside of marriage. (Galloway Dep. 20).

       However, there are exceptions to Righteous Living if you are a man. For example,

employees, all men, who violated the Righteous Living regarding pornography were offered

restoration plans, regardless of whether they had an addiction or not, and porn blockers were put

on their work computers. (O’Connor Dep. 134; Lopez Dep. 172, 182; Lopez 30(b)(6) Dep. 16, 62,

65-66, 71-73, Ex. 30 p. 001507, Ex. 31, Ex. 34; Sievertsen Dep. 53-54, Galloway Dep. 35).

Ramsey Solutions acknowledges porn offenses as “generally a male offense” and “the same story

of every male born in the last half century. You see a magazine or a website and [its] evil claws

get into you.” (Lopez 30(b)(6) Dep. Ex. 34 p. 001810; Ramsey Dep. 78).

       In contrast, women who engaged in premarital sex have not been given second chances,

and would not be, even if they were to state they would not engage in the behavior again. (Lopez

Dep. 171; Lopez 30(b)(6) Dep. 64). However, pregnancy via IVF do not violate this policy, and

Ramsey testified he “doubts” Ramsey Solutions would terminate a woman who was raped and

became pregnant. (Lopez Dep. 87; Ramsey Dep. 45). It was universally acknowledged that

pregnancy out of wedlock is easier for men to hide because pregnancy is obviously a visible

condition that only affects women. (Lopez Dep. 83, 173; Sievertsen Dep. 37; Galloway Dep. 35;

Ramsey Dep. 42). However, Ramsey expects employees to disclose intimate details of their

personal life if it is going to violate a Core Value. (Ramsey Dep. 40).



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         In late       , pre- and extra-marital sex violations were limited to “intercourse” after a male

employee had admitted he engaged in an extramarital affair involving oral sex. (Lopez Dep. 60,

87; Sievertsen Dep. 23, 25, 30; Floyd Dep. 75; Simms Dep. 28; Galloway Dep. 31). The Operating

Board, including Ramsey, among others, decided to use “wisdom to ascertain” what the Bible

meant, as it is not clear on “oral sex” and decided to “draw the line at intercourse” determining

oral sex does not violate “Righteous Living” and is more forgivable. 14 (Sievertsen Dep. 23, 30;

Floyd Dep. 65, 75, 77-78; O’Connor Dep. 147-48; Simms Dep. 29-30; Galloway Dep. 27-28;

Ramsey Dep. 14, 33). Finney and Galloway contradicted this assessment, but claimed the multiple

affairs alleged against the male employee were not recent because the most recent (at the time the

issue was brought to their attention) was around                                                             . (Finney

Dep. 41, 73-78, 112; Galloway 30(b)(6) Dep. 23, 26). It was agreed that employees cannot become

pregnant from oral sex. (Simms Dep. 30; Galloway 30(b)(6) Dep. 27).

O’Connor’s Understanding of the “Righteous Living Core Value.”

         Simms and Lopez, among others, interviewed O’Connor for her administrative position.

(O’Connor Dep. 45-46). Although Lopez testified that employees are notified of the prohibition

against premarital and extramarital sex during interviews and onboarding, the exception for oral

sex is not addressed, O’Connor was only notified of “Righteous Living” generally and never told

it included a prohibition of premarital and extramarital sex. (O’Connor Dep. 61, 65; Lopez Dep.

60, 61, 80; Sievertsen Dep. 26; Galloway 30(b)(6) Dep. 23, 26) 15. At the time of her employment,

Ramsey Solutions was aware that O’Connor’s prior two children were born outside of marriage.

(O’Connor Dep. 344). While O’Connor later heard that premarital sex might be frowned upon by



14
   Ramsey Solutions’ expert testified that the Judeo-Christian values “reserves all sexual activity, regardless of kind
to the confines of marriage,” including oral sex. (Walker Dep. 36, 47, Ex. 11 p. 4).
15
   Ramsey Solutions now uses “culture ambassadors” to complete this process. (Lopez Dep. 61).

                                                           8

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Ramsey Solutions, by a leader in DDG, she never heard Ramsey or a top-level executive state that

premarital sex or living with your boyfriend/girlfriend was terminable, in regular discussions about

“Righteous Living” in staff meetings or mandatory devotionals. (O’Connor Dep. 66, 70, 90-91,

244). O’Connor’s view of “Righteous Living” was about adultery or not being a bad person.

(O’Connor Dep. 81). O’Connor believes sex outside of marriage is not a sin and is compatible

with her Christian faith. 16 (O’Connor Dep. 259, 261; Armour Report, MSJ Opp. Ex. 1 p. 7).

Ramsey Solutions Terminates O’Connor After She Notifies It of Her Pregnancy and
Requests ADA and FMLA Information

         On June 18, 2020, O’Connor emailed Lopez:

         I needed to let you know that I’m 12 weeks pregnant. I understand that being
         unmarried and expecting is frowned on here, but the reality of the situation is this
         is what I’m walking through right now. This is obviously uncharted territory for me
         so I’m not sure what my next steps are regarding sharing the news with my leader,
         getting FMLA & ADA paperwork in case it’s need in the future, etc.

(O’Connor Dep. 111, 254-256, Ex. 9 p. 9). O’Connor through this email requested an exception to

“Righteous Living” with respect to pregnancy outside of marriage. (O’Connor Dep. 344). It is only

through this email that Ramsey Solutions became aware O’Connor may have engaged in premarital

sex, and it would not have known until her pregnancy began to show, at which point, Ramsey

Solutions would have called her in to discuss. (Lopez Dep. 93, 98-99, 116; Sievertsen Dep. 17;

Galloway Dep. 25-26; Finney Dep. 54). O’Connor was terminated because of her email informing

Ramsey Solutions she was pregnant and requesting information regarding FMLA and ADA

paperwork. (Galloway Dep. 26). Ramsey Solutions HR who manages FMLA, maternity leave, and

ADA requests were never contacted despite the explicit request, nor did Lopez discuss these


16
  This philosophy is embraced and espoused by mainline Protestant denominations, including the United Methodist
Church.” (Armour Report, MSJ Opp. Ex. 1 p. 7). Dr. Walker testified that denominations that hold this belief are in
error. (Walker Dep. 39). Dr. Walker also testified that any peer review on his writings or opinions on sex outside of
marriage are “so unnecessary” because there would be “no sincere exegetical argument” by any scholar of repute
based on a believed consensus for which Dr. Walker has no quantitative analysis. (Walker Dep. 40-41, 46).

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policies with her. (Lopez Dep. 71, 75, 94, 127). Lopez’s only response was, “First let me say that

every child is from God! What a blessing he/she will be! Thank you for sending me this email. I’ll

follow up soon.” (Lopez Dep. Ex. 8 p. 2167).

       What O’Connor did not know, was that within two minutes of receiving O’Connor’s email,

Lopez forwarded it to the HRC, Finney, and Ramsey. (Lopez Dep. 95, 97, Ex. 5 p. 0084).

Sievertsen immediately replied, “We’ve dealt with this before [unwed pregnancy/motherhood] and

I think we should handle it exactly the same way . . . our core values and what they stand for are

clear” and Floyd noted it was “totally classless” and he agreed with “precedent, (a/k/a principles

and values),” meaning they intended on terminating O’Connor for violating Righteous Living

immediately upon notification of her pregnancy. (Lopez Dep. 97-98, 100 Ex. 5 p. 0083; Sievertsen

Dep. 43; Floyd Dep. 46). Ramsey chimed in, at 5:10am the next morning, before anyone in the

HRC spoke to O’Connor, stating that O’Connor’s pregnancy news was “so sad” and speculated

she only sent the email because she “is scared and embarrassed.” (Ramsey Dep. 50, Ex. 6 p. 2170).

In this same email, Ramsey stated, “we will work this out with her” meaning work out her

separation. (Ramsey Dep. 51; Lopez Dep Ex. 6 p. 2170).

       Although the emails continued that HRC would talk to O’Connor about the circumstances

of her pregnancy, the HRC assumed she engaged in premarital sex and would be terminated due

to perceived violation of “Righteous Living.” (Lopez Dep. 102, 105; Sievertsen Dep. 45, 52; Lopez

30(b)(6) Dep. 12; Floyd Dep. 57). At this point it was a foregone conclusion that O’Connor would

be terminated for engaging in premarital sex, as Ramsey testified, he understood O’Connor’s email

to mean she was resigning or knew that she would be terminated and that he focused on the fact

that she was expecting. (Simms Dep. 32, 43; Ramsey Dep. 47-48).




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        After Ramsey’s email, Simms texted O’Connor to set up a time to call her later that day,

stating, “Ramsey Solutions will walk through this situation with you with love.” (O’Connor Dep.

98, 102; Lopez Dep. Ex. 9 p. 381). Love did not include keeping her job. Simms called O’Connor

and although they discussed her pregnancy, Simms did not discuss termination and instead told

O’Connor there would be another meeting; as a result, O’Connor was not concerned about her

employment and returned to work. (O’Connor Dep. 99-100, 268; Simms Dep. 34-35).

        On June 23, 2020, O’Connor met with Simms and Sievertsen in Simms’ office, after which

O’Connor became nervous that she was going to be illegally terminated. (O’Connor Dep. 103;

Sievertsen Dep. 19; Lopez Dep. 94; Simms Dep. 36, 38). Simms wanted to make sure that

O’Connor was “okay” in this meeting because they had no reason to assume that “she was feeling

great about her situation [her pregnancy] or not,” despite O’Connor stating that she and her

boyfriend were very happy about the pregnancy. (Simms Dep. 36-37). O’Connor was not asked if

she engaged in premarital sex and never informed Ramsey Solutions how her pregnancy came

about. (Lopez Dep. 87; O’Connor Dep. 123). Simms and Sievertsen were both aware that

O’Connor was considered to have a geriatric pregnancy due to her age. (O’Connor Dep. 281).

        After this meeting, Simms emailed Ramsey, Finney, and the HRC that O’Connor was not

going to “self-select out,” 17 but was not asked why she would not “self-select out.” (Lopez Dep.

110-11, Ex. 7 p. 1930-1931). Two days later, only a week after notifying Ramsey Solutions of her

pregnancy and requesting information on FMLA and the ADA, Simms and Lopez terminated

O’Connor, informing her their morals did not align; O’Connor spoke very little during this

meeting. (O’Connor Dep. 91-92, 94, 104, 257, 267; Lopez Dep. 171; Ramsey Dep. 38). The HRC

relied on O’Connor’s email notifying Lopez of her pregnancy in its decision to terminate


17
  Other employees who engaged in premarital sex stated they knew it meant they would be terminated. (Lopez Dep.
110-11).

                                                      11

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O’Connor for engaging in premarital sex, violating its version of Judeo-Christian, biblically based

“Righteous Living.” (Lopez Dep. 92, 112-13, 171, 175). Ramsey Solutions took into account

O’Connor’s pregnancy when it determined the amount of her severance offer, including health

insurance. (Lopez Dep. 121). 18 Ramsey Solutions never considered a “restoration plan” for

O’Connor to keep her position and no other female, pregnant, unwed employees have ever been

offered a “restoration plan” under the premise that there is no way for these employees to “redeem”

themselves; instead, every unwed, pregnant woman employed by Ramsey Solutions has been

terminated for “consistent[cy].” (Sievertsen Dep. 53; Simms Dep. 31, 33; Ramsey Dep. 21-22).

Ramsey Solutions Treats Women More Harshly Than Men

        Ramsey Solutions identified employees terminated for violating “Righteous Living,” as

well as a list of employees brought before the HRC for violating “Righteous Living,” regardless

of whether they were terminated. (Lopez 30(b)(6) Dep. 15, Ex. 21 p. 0078, Ex. 22 p. 2169). In

addition to the second chances males who viewed pornography were given, supra, the following

information was extrapolated:

•    Ramsey Solutions has terminated all pregnant, unwed female employees after they notified

     Ramsey Solutions of their pregnancy. (Lopez Dep. 124; Sievertsen Dep. 27; Simms Dep. 12,

     13). One employee was terminated, her pregnancy part of the equation, after she notified her

     leader,                     of her pregnancy and the father was her boyfriend. (O’Connor Dep.

     113-114; Lopez Dep. 178-179; Lopez 30(b)(6) Dep. 34-35, Ex. 25). The other employee was




18
   Pregnant women are offered more severance than male employees terminated for engaging in premarital sex.
(Lopez Dep. 106). According to Sieversten, Ramsey Solutions provides “grace” by offering a severance when it
terminates pregnant, unwed employees. (Sievertsen Dep. 44). However, to receive the severance, the employees
must agree to a non-disclosure provision.
19


                                                      12

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     terminated when she informed Ramsey Solutions of her pregnancy the weekend after she got

     married. (Lopez 30(b)(6) Dep. 22-23, 42, Ex. 24 p. 902).

•    A male employee was terminated after he notified his leader that his wife was pregnant and his

     leader calculated the date of conception, determining it was conceived prior to his marriage

     and his hire date. (O’Connor Dep. 212; Lopez 30(b)(6) Dep. 46-49, Ex. 18 pp. 671, 676-677;

     Finney Dep. 81-84, Ex. 18 pp. 671, 0677).

•    A Ramsey Solutions employee reported seeing a female employee’s boyfriend walking her

     dog in his boxers in the morning at her apartment building. (Lopez 30(b)(6) Dep. 20, Ex. 23).

     Ramsey Solutions assumed that she engaged in premarital sex and terminated her. (Lopez

     30(b)(6) Dep. Ex. 23 p. 916).

•    A male was terminated when it came to light that he was living with his fiancée at the direction

     of her pastor. 20 (Floyd Dep. Ex. 14 p. 865; Lopez 30(b)(6) Dep. 26-27, 29, Ex. 14 pp. 861,

     132). Ramsey made it clear they would not change their Core Values based on a pastor in

     another state and the employee should be fired on the spot if he would not answer questions

     about his personal life; “If he slept with her [or] lives with her or won’t answer the question,

     fire him on the spot. We have let people go that were much repentant and offended the policy

     less.” (Lopez 30(b)(6) Dep. 30-31; Floyd Dep. 63, Ex. 14 p. 1326). A religious accommodation

     was never discussed. (Finney Dep. 102, 108).

•    Another male employee was not immediately fired as a result of his disclosure he engaged in

     premarital sex with a female employee, but instead was kept on as contract employee for a

     short period after giving a chance to tell his side of the story. (O’Connor Dep. 131; Lopez

     30(b)(6) Dep. 52-53, Ex. 27; Ramsey Dep. 76-77). This employee was given an opportunity


20
  Sievertsen testified that Ramsey Solutions had never had an employee refuse to disclose whether they engaged in
pre-marital sex, which is not the case. (Sievertsen Dep. 35).

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    by Ramsey to “repent” and refrain from engaging in premarital sex, which he refused.

    (O’Connor Dep. 133; Lopez 30(b)(6) Dep. 52-53).

•   In                , another male employee admitted to Ramsey Solutions and Ramsey that he

    had engaged in an extramarital affair           prior, while employed by Ramsey Solutions,

    and also to a recent affair involving oral sex after his wife approached Ramsey Solutions with

    concerns he was having an ongoing affair with another employee and disclosed his previous

    affairs. (Ramsey Dep. 15-19, 65-66; Simms 30(b)(6) Dep. 10, 17, Ex. 36 p. 2337). Though the

    male employee and co-worker initially denied it, he did admit to telling the employee she

    looked good and he missed her in the morning. (Ramsey Dep. 68, Ex. 41 p. 2610). In response,

    Ramsey chose to “walk[] with a broken guy who was trying to heal” including having the

    employee and his co-worker chaperoned and proposed a “restoration plan” for his marriage

    and made the decision not to terminate him, despite his repeated extramarital affairs and

    violation of “Righteous Living.” (Ramsey Dep. 70, 72, Ex. 41 p. 2611; MSJ Opp. Ex. 4 p.

    2661-63; Sievertsen Dep. 53; Simms 30(b)(6) Dep. 8). None of this man’s affairs resulted in a

    pregnancy. (Simms 30(b)(6) Dep. 32). During the time, Ramsey acknowldeged this man had

    “actively deceived everyone in the company . . . for          ” and had lived a “double-life.”

    (Ramsey Dep. 19, 58, 72, 75, Ex. 43 p. 2511). Ramsey did not consider the male employee’s

    wife “credible” because he viewed her as “erratic, out of control,” and referred to her as a

    “world-class bitch.” (Ramsey Dep. 62, 74, Ex. 43 p. 2483-84). Simms stated that the

    employee’s wife was “crazy” and thought his wife “drove [him] to do the things he did.” (MSJ

    Opp. Ex. 3 p. 2636). It was later proven the male employee’s wife was not lying. (Ramsey

    Dep. 63). In     , Ramsey Solutions finally terminated the male employee because the female

    co-worker who initially denied the affair in      admitted that they had engaged in a sexual



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       affair and parts of this relationship were not consensual. (Simms 30(b)(6) Dep. 16, 21; Lopez

       30(b)(6) Dep. 79). Nonetheless, the male employee was questioned for one hour and forty-five

       minutes, pushing him to admit to the affair, despite his original claims he had not had an affair

       with this employee. (Simms 30(b)(6) Dep. 24).

II.       SUMMARY JUDGMENT STANDARD

          The court must view the factual evidence and draw all reasonable inferences in the light

most favorable to the non-moving party on a Rule 56 motion for summary judgment. Matsushita

Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). In determining whether the

moving party has met its burden, the [t]he evidence of the nonmovant is to be believed and court

must view the factual evidence and draw all reasonable inferences in the light most favorable to

the non-moving party. Anderson v. Liberty Lobby, Inc., 477 U. S. 242, 255, 106 S. Ct. 2505, 91 L.

Ed. 2d 202 (1986).

III.      ARGUMENT

       A. Ramsey Solutions Violated Title VII and the THRA

          The Pregnancy Discrimination Act, provides that:

          The terms "because of sex" or "on the basis of sex" [under Title VII] include, but are not
          limited to, because of or on the basis of pregnancy, childbirth, or related medical
          conditions; and women affected by pregnancy, childbirth, or related medical conditions
          shall be treated the same for all employment-related purposes, including receipt of benefits
          under fringe benefit programs, as other persons not so affected but similar in their ability
          or inability to work, and nothing in section 2000e-2(h) of this title shall be interpreted to
          permit otherwise.
42 U.S.C. § 2000e(k). “[T]he Pregnancy Discrimination Act does not require preferential

treatment for pregnant employees. Rather, it mandates that employers treat pregnant employees

the same as nonpregnant employees who are similarly situated with respect to their ability to

work.” Tysinger v. Police Dep't of the City of Zanesville, 463 F.3d 569, 575 (6th Cir. 2006).


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O’Connor’s THRA and Title VII claims are analyzed under the same standard. Lynch v. City of

Jellico, 205 S.W.3d 384, 399 (Tenn. 2006). “Courts agree that an employer commits a violation

of the Pregnancy Discrimination Act when it premises an employment decision, in whole or in

part, on the fact that one of its female employees or applicants is pregnant out of wedlock.”

Strickland v. Prime Care of Dothan, 108 F.Supp. 2d 1329, 1337 (M.D. Ala. 2000) (internal

citations omitted). The only cases where this premise is even questionable are those where the

ministerial exception under Title VII applies; however, Ramsey Solutions does not qualify for this

exception, nor is Ms. O’Connor a minister. See Dias v. Archdiocese of Cincinnati, 2013 U.S. Dist.

LEXIS *5 (Jan. 13, 2013) (a teacher’s “Title VII rights trump any illegal anti-pregnancy provision

in a contract”). As such, because Defendant blatantly admits O’Connor was terminated because

she was not married, Title VII has been violated. Nonetheless, the following facts further bolster

the conclusion that a reasonable jury could find the same.

             1. Ramsey Solutions Discriminated Against O’Connor in Violation of Title VII

     A plaintiff may demonstrate pregnancy discrimination under the Title VII (1) by presenting

direct evidence of discrimination; (2) by establishing an indirect case of discrimination under

McDonnell Douglas Corporation v. Green, 411 U.S. 792, 36 L. Ed. 2d 668, 93 S. Ct. 1817 (1973),

or; (3) by demonstrating defendant’s decision was based on a mixed motive. 21 O’Connor can

demonstrate all three.

     Direct Evidence: Direct evidence “is that evidence which, if believed, requires the conclusion

that unlawful discrimination was at least a motivating factor in the employer's actions.” Jacklyn v.




21
  In a mixed motive claim, both legitimate and illegitimate reasons motivate the decision, thus the McDonnell Douglas
paradigm does not apply. See White v. Baxter Healthcare Corp., 533 F.3d 381, 396 (6th Cir. 2008). In such cases, a
plaintiff must show that "(1) the defendant took an adverse employment action against the plaintiff; and (2) [the
plaintiff's pregnancy] was a motivating factor for the defendant's adverse employment action." Spees v. James Marine,
Inc., 617 F.3d 380, 390 (6th Cir. 2010).

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Schering-Plough Healthcare Prods. Sales Corp., 176 F.3d 921, 926 (6th Cir. 1999); see also

Johnson v. Kroger Co., 319 F.3d 858, 865 (6th Cir. 2003) (“[D]irect evidence of discrimination

does not require a factfinder to draw any inferences in order to conclude that the challenged

employment action was motivated at least in part by prejudice against members of the protected

group.”). Direct evidence of pregnancy discrimination includes remarks made by decisionmakers.

EEOC v. Corp. Sec. Solutions, 2007 U.S. Dist. LEXIS *11-12 (S.D. Ohio 2007) (statement about

pregnancy in context of conversation notifying employee of termination was direct evidence).

   With respect to O’Connor, Ramsey Solutions justifies the “how” of her pregnancy (unwed

motherhood) as the reason for her termination premised on its core value. Defendant admitted she

was terminated because of the June 18, 2020, email notifying them she was pregnant; Ms. Connor

was deemed in violation of their values, “classless” and the decision was made within hours of this

email to terminate before any further communication with O’Connor. (Galloway Dep. 26, Ex. 5;

Lopez Dep. 97-98, 100 Ex. 5 p. 83; Sievertsen Dep. 43; Floyd Dep. 46). Nonetheless, this is still

direct evidence that her pregnancy was a motivating factor in its decision.

       Indirect Evidence: Under the McDonnell Douglas framework, to establish her prima facie

case of pregnancy discrimination the plaintiff must show: (1) that she was pregnant; (2) that she

was subject to an adverse employment decision; (3) that she was qualified for her job and (4) that

there is a “nexus” between her pregnancy and the adverse employment decision. Cline v. Catholic

Diocese of Toledo, 206 F.3d 651, 658 (6th Cir. 2000); Asmo v. Keane, Inc., 471 F.3d 588, 592 (6th

Cir. 2006)); Tysinger, 463 F.3d at 573; Lassiter v. Neurological Surgeons, P.C., 2008 U.S. Dist.

LEXIS 100261 *11-12 (M.D. Tenn. Dec. 11, 2008) (Trauger, J.). “The burden of establishing a

prima facie case is not onerous, but one easily met.” Texas Dep't of Cmty. Affairs v. Burdine, 450

U.S. 248, 253, (1981); Nguyen v. City of Cleveland, 229 F.3d 559, 563 (6th Cir. 2000). One way



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for the plaintiff to establish “nexus” is to show that there was a temporal proximity between her

employer's learning of her pregnancy and the adverse employment decision. Asmo, 471 F.3d at

593-594 (two months between the employer's learning of the pregnancy and the employee's

termination, established nexus between plaintiff’s pregnancy and her termination). Once the

plaintiff establishes her prima facie case, the defendant may articulate a legitimate, non-

discriminatory reason for the employment action, which the plaintiff may rebut with evidence that

the explanation is pretextual. Cline, 206 F.3d at 658.

       Defendant uses the wrong analysis when it erroneously contends O’Connor is unable to

establish her prima facie case of sex discrimination, which is premised entirely on her pregnancy.

(ECF 67 p. 13). The temporal proximity between her pregnancy announcement to HR and the

immediate conclusion that she would be terminated like other unmarried pregnant women was

made within hours. (Lopez Dep. 97-98, 100, 102-105, Ex. 5 p. 83; Sievertsen Dep. 43, 45, 52;

Floyd Dep. 46, 57; Lopez 30(b)(6) Dep. 12; Simms Dep. 32, 43). Asmo, 471 F.3d at 593-594 (two-

month delay was enough to establish nexus). Thus, nexus is established.

       Defendant contends O’Connor cannot establish pretext, yet it fails to clearly articulate what

its legitimate, non-discriminatory justification was, presumably it was premised on their

prohibition against premarital sex under the Righteous Living core value. This “value” however is

exactly the type of “built-in headwind” unrelated to measuring job capability that is proscribed by

Title VII. Griggs v. Duke Power Co., 401 U.S. 424, 432 (1971). In Griggs, the Court recognized

that “Congress directed the thrust of [Title VII] to the consequences of employment practices, not

simply the motivation. More than that, Congress has placed on the employer the burden of showing

that any given requirement must have a manifest relationship to the employment in question.” Id.

at 432. The core value that prohibits sex outside of marriage has no bearing on whether O’Connor



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can or cannot perform her job as an administrative assistant. Instead, it operates as an artificial

barrier to employment free from discrimination, in this case pregnancy. See Jacobs v. Martin

Sweets Co., 550 F.2d 364, 371 (6th Cir. 1977) (upholding judgment finding violation of Title VII,

in particular that an unwed pregnancy bore no rational relationship to defendant’s business where

no such barrier existed with respect to a wed pregnancy). Moreover, O’Connor, not being the face

of the company (unlike at least one male employee who was much more visible and who got away

with much more), was not going to jeopardize the company’s image in any way. Thus, Defendant’s

reason is neither legitimate, nor non-discriminatory as a matter of law.

       Nonetheless, assuming arguendo Defendant met their burden of production, O’Connor can

still meet her burden of persuasion under a pretext analysis, and only by ignoring the record does

Defendant contend otherwise. (ECF 67 p. 14). Importantly, when an employer justifies a

termination of a pregnant employee on the basis of a prohibition against pre-marital sex, this is an

ultimate question of discrimination. Cline, 206 F.3d at 660. As such, the following demonstrates

that a reasonable jury could find that her pregnancy, not just the core value, was the motivating

factor in O’Connor’s termination:

           •   The decision to terminate O’Connor was made within hours of her notification to

               Ramsey Solutions that she was pregnant and before any member of the Operating

               Board spoke to her. (Lopez Dep. 97-98, 100 Ex. 5 p. 0083; Sievertsen Dep. 43;

               Floyd Dep. 46).

           •   Male employees who violated the core value for looking at pornography deemed

               “generally a male offense” were given second chances. (Lopez 30(b)(6) Dep. Ex.

               34 p. 1810; Ramsey Dep. 78).

           •   Unwed mothers were not afforded second chances or “restoration plans;” every


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                 single unwed mother has been terminated. (Lopez Dep. 124, 171; Lopez 30(b)(6)

                 Dep. 64; Sievertsen Dep. 27, 53; Simms Dep. 12-13, 31, 33; Ramsey Dep. 21-22).

            •    Defendant made an exception for an extra-marital affair of a male employee

                 because it was removed in time, even though he was an employee when it occurred.

                 (Finney Dep. 41, 73-78, 112; Galloway 30(b)(6) Dep. 23, 26).

            •    Defendant made an exception for an extra-marital affair for a male employee

                 because the sex act involved oral sex, not intercourse. (Lopez Dep. 60, 87;

                 Sievertsen Dep. 23, 25, 30; Floyd Dep. 75; Simms Dep. 28; Galloway Dep. 31). 22

            •    A male employee who admitted to having sex outside of marriage [not resulting in

                 pregnancy] was offered a 6-month contract to complete terms of employment and

                 the opportunity to repent. (O’Connor Dep. 131, 133; Lopez 30(b)(6) Dep. 52-53,

                 Ex. 27; Ramsey Dep. 76-77).

            •    Defendant acknowledged that a male employee could hide a pregnancy out of

                 wedlock easier than a female employee, due to pregnancy being a visible condition.

                 (Lopez Dep. 83, 173; Sievertsen Dep. 37; Galloway Dep. 35; Ramsey Dep. 42).

            •    Defendant acknowledged that they did not go looking for core value violations, nor

                 do they require a “purity pledge” among employees, but they only looked into

                 alleged violations when presented to them. (Lopez Dep. 78-79, 91; Ramsey Dep.

                 23).

            •    A woman must request FMLA in the event she wants to request maternity leave,

                 this will expose pregnancy. (Lopez Dep. 74, 174).




22
  It was agreed that employees cannot become pregnant from oral sex. (Simms Dep. 30; Galloway 30(b)(6) Dep.
27).

                                                     20

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        •   O’Connor was never asked if in fact she engaged in pre-marital sex, it was assumed.

            (Lopez Dep. 87; O’Connor Dep. 123). Though never faced with it [that they know

            of], Defendant may have made an exception if an employee had conceived by way

            of IVF or rape. (Lopez Dep. 87; Ramsey Dep. 45).

        •   Not one single employee of Defendant could cite to a Biblical basis for the core

            value that they based O’Connor’s termination on, which undermines any legitimacy

            of the proscription against pre-marital sex. (Lopez Dep. 59; Ramsey Dep. 14;

            Galloway Dep. 20; Seivertsen Dep. 21; Floyd Dep. 35; Simms Dep. 26)

        •   There is no written policy detailing behaviors that violate “Righteous Living,”

            including its prohibition on sex outside of marriage. (Lopez Dep. 66, 91, Ex. 3 p.

            0028; Sievertsen Dep. 14, 38; Floyd Dep. 42; Finney Dep. 25, 35, 39; Ramsey Dep.

            12, 24).

        •   The policing of sexual morality through moral codes of conduct “disproportionately

            impacts women” and reinforces patriarchal authority. (Ingersoll Report, MSJ Opp.

            Ex. 2 p. 2, 6).

        •   Ramsey chose to “walk[] with a broken guy who was trying to heal” from extra-

            martial affairs and allegations which included having the employee and his co-

            worker with whom he was accused of having an affair with chaperoned and

            proposed a “restoration plan” for his marriage and made the decision not to

            terminate him, despite his repeated extramarital affairs and violation of “Righteous

            Living;”. (Ramsey Dep. 70, 72, Ex. 41 p. 2611, MSJ Ex. 4 p. 2661-63; Sievertsen

            Dep. 53; Simms 30(b)(6) Dep. 8). None of this man’s affairs resulted in a

            pregnancy. (Simms 30(b)(6) 32).


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        In Cline, in denying summary judgment, the Sixth Circuit found that "[the employer]

acknowledged … that Cline's pregnancy alone had signaled them that she engaged in premarital

sex, and that the school does not otherwise inquire as to whether male teachers engage in premarital

sex. … These admissions raise an issue of material fact as to whether [the school] enforces its

policy solely by observing the pregnancy of its female teachers, which would constitute a form of

pregnancy discrimination." Cline, 206 F.3d at 667. Likewise, only O’Connor’s June 18, 2020,

email alerted Ramsey Solutions to her pregnancy, given that pregnancy is not a condition that can

be hidden, and because Ramsey Solutions does not seek out information of male employees, her

presumed engagement in pre-marital sex would not have been an issue had she not notified them

she was pregnant and seeking information about FMLA and the ADA. (Galloway Dep. 26, 35, Ex.

5; Lopez Dep. 83, 173, 97-98, 100 Ex. 5 p. 0083; Sievertsen Dep. 37, 43; Floyd Dep. 46; Ramsey

Dep. 42). Thus, a reasonable jury could conclude O’Connor was terminated based on her

pregnancy rendering summary judgment inappropriate.

     B. Ramsey Solutions Interfered with O’Connor’s FMLA Rights and Retaliated Against
        O’Connor in Violation of Her FMLA and TMLA Rights

        An employer violates the FMLA when it “interfere[s] with, restrain[s], or den[ies] the

exercise of or the attempt to exercise” FMLA rights. 29 U.S.C. § 2615(a)(1). FMLA interference

claims follow the familiar burden-shifting framework set forth in McDonnell Douglas Corp. v.

Green, 411 U.S. 792, 93 S. Ct. 1817, 36 L. Ed. 2d 668 (1972); Donald v. Sybra, Inc., 667 F.3d

757, 762 (6th Cir. 2012). 23 Terminating an employee prior to the employee taking FMLA leave

may constitute a denial of FMLA benefits. Arban, 345 F.3d at 401 (explaining that "the timing of



23
  To establish a prima facie case of FMLA interference, the plaintiff must show: (1) she was an eligible employee;
(2) the defendant was an employer as defined under the FMLA; (3) the employee was entitled to leave under the
FMLA; (4) the employee gave the employer notice of her intention to take leave; and (5) the employer denied the
employee FMLA benefits to which she was entitled. Id. at 761. Plaintiff does not dispute Defendant’s TMLA analysis.

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this decision could lead a fact finder to infer that the employee would not have been fired absent

her" seeking leave); see also, Cavin v. Honda of Am. Mfg., 346 F.3d 713, 726-27 (6th Cir. 2003).

         An employer cannot use an employee’s use of FMLA as a “negative factor” in employment

actions “such as hiring, promotions or disciplinary actions. 29 C.F.R. § 825.220(c). Hunter v.

Valley View Local Schools, 579 F.3d 688, 691-92 (6th Cir. 2009). “The phrase ‘a negative factor’

envisions that the challenged employment decision might also rest on other, permissible factors.”

Id. at 692. 24; Edgar v. JAC Products, Inc., 443 F.3d 501, 508 (6th Cir. 2006).

         Defendant’s only argument that it did not interfere with or retaliate against O’Connor’s

assertion of FMLA rights is that her need to take FMLA was only “potential” and temporal

proximity was not enough. 25 (ECF 67 p. 15). In doing so, Defendant relies on a case that is

inapposite, Walton v. Ford Motor Co., 424 F. 3d 481 (6th Cir. 2006). In Walton, the employee

only stated he “twisted his knee.” Id. at 487. O’Connor was specific about her condition and that

she was seeking information about FMLA. (Lopez Dep. Ex. 5 p. 106). Moreover, an employee

need not “expressly assert rights under the FMLA or even mention the FMLA” all that is required

is that she give the employer enough information to conclude an FMLA qualifying event has

occurred. Verhoff v. Time Warner Cable, Inc., 299 Fed. Appx. 488, 496 (6th Cir. 2008). Pregnancy

or childbirth are specifically identified as qualifying conditions under the FMLA and TMLA. 29

C.F.R. § 825.120(a); T.C.A. §4-21-408(a). Thus, her need was not “potential.” Defendant

“bypassed” any argument O’Connor could not establish a prima facie case. (ECF 67 n.13).


24
   A prima facie case of FMLA retaliation, a plaintiff must show: (1) she was engaged in an activity the FMLA
protects; (2) defendant knew she was exercising her FMLA rights; (3) defendant took an employment action adverse
to her; and (4) there was a causal connection between the protected FMLA activity and the adverse employment action.
Jaszczyszyn v. Advantage Health Physician Network, 504 Fed. App'x 440, 447 (6th Cir. 2012). Temporal proximity
to protected conduct and an adverse employment action can establish causation. Bryson v. Regis Corp., 498 F.3d 561,
571 (6th Cir. 2007). “The burden of establishing a prima facie case of retaliation is not onerous, but one easily met.’”
EEOC v. Avery Dennison Corp., 104 F.3d 858, 861 (6th Cir. 1997).
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   Defendant made a singular argument with respect to both interference and retaliation, even though these are
distinct legal claims. As such, Plaintiff is likewise responding in a singular manner.

                                                          23

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Accordingly, the same reasons articulated above likewise apply here, e.g., their unwritten practice

with respect to the righteous living core value was not black and white, but under no circumstances

did this practice give Ramsey Solutions the right to interfere with and retaliate against O’Connor

in violation of the FMLA or the TMLA.

       C. Ramsey Solutions Discriminated Against O’Connor in Violation of the ADA & TDA

           Title I of the Americans with Disabilities Act (“ADA”) prohibits an employer from

“discharging” an employee because the employee is disabled, because the employee has a record

of being disabled, or because the employer “regards” the employee as disabled. 42 U.S.C. §§

12102(1), 12112(a). “Under the Americans with Disabilities Act, your employer can't fire you

because they think you are disabled, even if, in fact, you are not disabled.” Babb v. Maryville

Anesthesiologists P.C., 942 F.3d 308, 310 (6th Cir. 2019). 26

           Defendant asserts O’Connor is unable to demonstrate the first, fourth and fifth elements of

an ADA prima facie test. (ECF 67 p. 17). With respect to the first element, although as a general

rule, pregnancy is generally not a disability, impairments from pregnancy are, which is why

O’Connor requested ADA paperwork. Spees v. James Marine, Inc., 617 F.3d 380, 396-397 (6th

Cir. 2010); 20 C.F.R. 1630.2. When Defendant made the decision to terminate her based on her

raising the issue about ADA paperwork, it regarded her as disabled. (Lopez Dep. 93, 98-99, 116,

Ex. 5; Sievertsen Dep. 17; Galloway Dep. 25-26; Finney Dep. 54). For this same reason, element

four is satisfied. With respect to element 5, that similarly situated employees were treated more

favorably, Defendant acknowledges in its brief other women were treated more favorably. (ECF

67 p. 14). The difference here is that O’Connor’s request was disregarded and used as a reason for

termination. (Galloway Dep. 25-26). The reason used, i.e., the discriminatory premarital sex core



26
     The TDA is analyzed the same.

                                                   24

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value, was pretext for discrimination for the same reasons articulated above. Accordingly,

Defendant’s motion with respect to O’Connor’s ADA discrimination claim must be denied.

      D. Ramsey Solutions Retaliated Against O’Connor in Violation of Title VII, THRA,
         TDA and ADA

         “To come within the protection of Title VII, [a plaintiff] must establish that [s]he

challenged an employment practice that [s]he reasonably believed was unlawful.” Yazdian v.

ConMed Endoscopic Techs., Inc, 795 F.3d 634, 645 (6th Cir. 2015). Defendant contends Plaintiff

did not engage in protected conduct and that she cannot establish pretext. (ECF 67 pp. 20-23)

         O’Connor first opposed Ramsey Solutions’s discriminatory practice toward pregnancy

women in her email, when she disputed the policy “frowned upon” her pregnancy. (Lopez Dep.

Ex. 5). Thereafter, she engaged in multiple discussions with HRC committee members regarding

her pregnancy and desire to work, including that she was not going to “self-select out”. 27 (Lopez

Dep. Ex. 7 p. 1930-31, Ex. 9). This was protected conduct and it satisfies her easily met prima

facie burden. For the same reasons articulated supra, pretext is likewise established. Moreover, a

reasonable jury the comment that O’Connor refused to “self-select out” but she “knows what’s

gonna happen” indicates retaliatory intent. (Lopez Dep. Ex. 7 p. 1930). Thus, Defendant’s motion

should be denied with respect to O’Connor’s retaliation claims.

IV.      CONCLUSION




27
   A plaintiff must establish a prima facie case of retaliation: (1) she engaged in protected conduct; (2) the exercise of
her civil rights was known to the defendant; (3) thereafter, the defendant took an employment action adverse to the
plaintiff; and (4) there was a causal connection between the protected activity and the adverse employment action.
Harrison v. Metropolitan Gov't, 80 F.3d 1107, 1118 (6th Cir. 1996). Accord Swierkiewicz v. Sorema N.A., 534 U.S.
506, 512, 122 S. Ct. 992, 152 L. Ed. 2d 1 (2002) ("the precise requirements of a prima facie case can vary depending
on the context and were 'never intended to be rigid, mechanized, or ritualistic'"). At the prima facie stage, O’Connor
is not required to prove her underlying case of discrimination or allege specific facts pertaining to discriminatory
statements. See White v. Burlington Northern & Santa Fe Ry., 364 F.3d at 64, 67. Defendant analyzed all retaliation
claims together; Plaintiff is responding in the same manner. (ECF 67 pp. 20-23).

                                                           25

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       O’Connor has demonstrated that a reasonable jury could find that she was discriminated

and retaliated against in violation of her rights under Title VII, THRA, ADA and TDA; and that

her rights under the FMLA and TMLA were violated when Defendant interfered with her rights

and retaliated against her. As such, with the exception of her ADA accommodation claim, which

she is voluntarily dismissing, O’Connor requests the Court Deny Defendant's motion.



                                                   Respectfully submitted,

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                                              26

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                              CERTIFICATE OF SERVICE

I HEREBY certify that a copy of the foregoing has been e-mailed on December 17, 2021 to
counsel of record through the court’s CM/ECF system:

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